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                            CHAPTER 11 MONTHLY OPERATING REPORT - COMPARATIVE BALANCE SHEET

Case No.          20-00674-JMM                                                    Report Month/Year July/August 2020
Debtor            Best View Construction & Development LLC



                                                                                 Current                      Peti ion
ASSETS                                                                           Month                         Date
Current Assets:
     Cash                                                                  $                2,978   $                     45067
     Accounts Receivable                                                                        0                             0
     Receivable from Officers, Employees, Affiliates                                            0                             0
     Inventory                                                                                  0                             0
     O her Current Assets (List)                                                                0                             0
                                           Legal Retainer                                  31,345                        31,345

       Total Current Assets                                                                34,323                        31,345

Fixed Assets:
     Land                                                                            1,500,000                     1,500,000
     Building
     Equipment, Furniture and Fixtures                                                      1,330                         1,330

       Total Fixed Assets                                                            1,501,330                     1,501,330
         Less: Accumulated Depreciation                                     (                                                     )
       Net Fixed Assets                                                              1,501,330                     1,501,330

       O her Assets (List):


       TOTAL ASSETS                                                        $         1,535,653      $              1,532,675

LIABILITIES
     Post-petition Trade Accounts Payable                                  $       $161,154.52      $                        0
     Post-petition Accrued Legal Fees                                                   6,984                                0
     Post-petition Taxes Payable                                                            0                                0
     Post-petition Notes Payable (Broadmark)                                           11,687                                0
     O her Post-petition Payables (List):                    CPA                            0                                0


       Total Post Petition Liabilities                                                 179,825                               0

Pre Petition Liabilities:
     Secured Debt                                                                    2,295,176                     2,295,176
     Priority Debt                                                                           0                             0
     Unsecured Debt                                                                    523,947                       523,947

       Total Pre Petition Liabilities                                                2,819,123                     2,819,123

       TOTAL LIABILITIES                                                             2,998,948                     2,819,123

OWNERS' EQUITY
       Owner's/Stockholder's Equity                                                 (1,463,295)                   (1,286,448)
       Retained Earnings - Prepeti ion
       Retained Earnings - Post-pe ition

       TOTAL OWNERS' EQUITY                                                         (1,463,295)                   (1,286,448)

       TOTAL LIABILITIES AND OWNERS' EQUITY                                $         1,535,653      $              1,532,675

Explain any significant changes on Form UST-2D, Supplemental Information




United States Trustee-District of Idaho                                                                                                         UST-2B
                                                                                                                                          December 2017
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          CHAPTER 11 MONTHLY OPERATING REPORT - COMPARATIVE INCOME STATEMENT

Case No. 20-00674-JMM                                              Report Month/Year July/August 2020
Debtor   Best View Construction & Development LLC



                                                                          Current               Total
                                                                          Month              Post-Petition
GROSS SALES/REVENUE                                                 $               0    $                   0
Less: Discounts, Returns and Allowances                                             0                        0
Net Sales/Revenue                                                                   0                        0

Cost of Sales:
Beginning Inventory                            $
Add: Purchases
Less: Ending Inventory                         (               )
Cost of Goods Sold                                                                  0                        0

GROSS PROFIT                                                        $               0    $                   0

Operating/Development Expenses:                                             41256.17                         0
Officers' Salaries                                                                 0                         0
Other Salaries                                                                     0                         0
Employee Benefits/Payroll Taxes                                                    0                         0
Insurance                                                                     831.83
Rent and Lease Payments                                                            0                         0
Other (list):      Broadmark Payments                                              0                         0



Total Operating Expenses                                                       42088                         0

OPERATING INCOME (LOSS)                                             $         -42088     $                   0

Add: Other Income                                                                   0                        0
Less: Interest Expense
Less: Professional Fees and Other Reorganization Expenses                           0                        0
Other Adjustments to Income (explain)                                               0                        0
Gain (Loss) on Sale of Assets                                                       0                        0

NET INCOME (LOSS) BEFORE TAXES                                      $         -42088     $                   0

Income Tax Expense (Benefit)                                                        0                        0

NET INCOME (LOSS)                                                   $         -42088     $                   0




United States Trustee-District of Idaho                                                                                UST-2B
                                                                                                                 December 2017
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                                                          Member Number     Period Ending                                    Page
                                                           XXXXXX7490     08/01/20 - 08/31/20                               2 of 2

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                                                                                                           Questions?
BEST VIEW CONSTRUCTION & DEVELOPMENT                                                                       Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH11 CASE # 20-00674 (ID)                                                                                    1-800-CALL-WELLS               (1-800-225-5935)

1625 MUSTANG MESA AVE                                                                                        TTY: 1-800-877-4833
MIDDLETON ID 83644-4745                                                                                      En español: 1-877-337-7454



                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (113)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




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                                                                                                           services with your account(s). Go to wellsfargo.com/biz or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           call the number above if you have questions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              ✓
                                                                                                           Online Statements                                    ✓
                                                                                                           Business Bill Pay
                                                                                                           Business Spending Report                             ✓
                                                                                                           Overdraft Protection




Statement period activity summary                                                                          Account number:             7536
         Beginning balance on 7/30                                                     $0.00               BEST VIEW CONSTRUCTION & DEVELOPMENT
                                                                                                           DEBTOR IN POSSESSION
         Deposits/Credits                                                           19,223.69
                                                                                                           CH11 CASE # 20-00674 (ID)
         Withdrawals/Debits                                                            - 0.00
                                                                                                           Idaho account terms and conditions apply
         Ending balance on 7/31                                                  $19,223.69
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN):
         Average ledger balance this period                                         $9,624.34
                                                                                                           For Wire Transfers use
                                                                                                           Routing Number (RTN):


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (113)
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Transaction history

                         Check                                                                                     Deposits/        Withdrawals/          Ending daily
       Date             Number Description                                                                           Credits               Debits             balance
       7/30                    Edeposit IN Branch/Store 07/30/20 12:49:47 Pm 2122 W Karcher                           25.00                                     25.00
                               Rd Nampa ID 6946
       7/31                    ATM Check Deposit on 07/31 2122 W Karcher Rd Nampa ID                               19,198.69                                19,223.69
                               0002226 ATM ID 9983J Card 6946
       Ending balance on 7/31                                                                                                                               19,223.69
       Totals                                                                                                  $19,223.69                  $0.00

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 07/30/2020 - 07/31/2020                                                 Standard monthly service fee $10.00                   You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. Your fee waiver is about to expire. You will
       need to meet the requirement(s) to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                  Minimum required                   This fee period
       Have any ONE of the following account requirements
         · Average ledger balance                                                                                       $500.00                      $9,624.00    ✔

       C1/C1




Account transaction fees summary
                                                                                           Units          Excess         Service charge per               Total service
       Service charge description                                  Units used          included            units            excess units ($)                charge ($)
       Cash Deposited ($)                                                   0             3,000                0                    0.0030                        0.00
       Transactions                                                         2                50                0                       0.50                       0.00
       Total service charges                                                                                                                                      $0.00




        IMPORTANT ACCOUNT INFORMATION

Effective 05/22/2020, the Night Depository Agreement was amended to include: "Deposits placed into the night depository are
considered received by us when the bag is removed from the night depository and is available to us for processing. We will credit the
deposit to your account no later than the next business day."

No action is required on your part and there is no impact to the current night depository deposit process.
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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                           You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                              and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                      information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                       an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                  Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . $. .


                                                                                                                                                   Total amount $




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                                                                                                     Questions?
BEST VIEW CONSTRUCTION & DEVELOPMENT                                                                 Available by phone 24 hours a day, 7 days a week:
                                                                                                     Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH11 CASE # 20-00674 (ID)                                                                             1-800-CALL-WELLS               (1-800-225-5935)

1625 MUSTANG MESA AVE                                                                                 TTY: 1-800-877-4833
MIDDLETON ID 83644-4745                                                                               En español: 1-877-337-7454



                                                                                                     Online: wellsfargo.com/biz

                                                                                                     Write: Wells Fargo Bank, N.A. (113)
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                                                                                                             Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                       Account options
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 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                     call the number above if you have questions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                     like to add new services.

                                                                                                     Business Online Banking                            ✓
                                                                                                     Online Statements                                  ✓
                                                                                                     Business Bill Pay
                                                                                                     Business Spending Report                           ✓
                                                                                                     Overdraft Protection




        IMPORTANT ACCOUNT INFORMATION

We're making important changes to the terms and conditions of several of our accounts. If these changes affect you, a detailed
message is included below your transaction detail for each impacted account.



Statement period activity summary                                                                    Account number:             7536
        Beginning balance on 8/1                                                $19,223.69           BEST VIEW CONSTRUCTION & DEVELOPMENT
        Deposits/Credits                                                                 0.00        DEBTOR IN POSSESSION
                                                                                                     CH11 CASE # 20-00674 (ID)
        Withdrawals/Debits                                                     - 16,270.58
                                                                                                     Idaho account terms and conditions apply
        Ending balance on 8/31                                                  $2,953.11
                                                                                                     For Direct Deposit use
                                                                                                     Routing Number (RTN):
        Average ledger balance this period                                          $8,845.30
                                                                                                     For Wire Transfers use
                                                                                                     Routing Number (RTN):




     (113)
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     Sheet 00001 of 00003
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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history

                            Check                                                                                    Deposits/         Withdrawals/         Ending daily
       Date                Number Description                                                                          Credits                Debits            balance
       8/4                        Withdrawal Made In A Branch/Store                                                                        6,000.00           13,223.69
       8/5                        Withdrawal Made In A Branch/Store                                                                          810.00
       8/5                        Withdrawal Made In A Branch/Store                                                                          105.79              12,307.90
       8/10                       Withdrawal Made In A Branch/Store                                                                        2,550.00               9,757.90
       8/12                       Purchase authorized on 08/11 Nampa True Value # Nampa ID                                                    15.82
                                                     Card 6946
       8/12                       Purchase authorized on 08/11 Nampa True Value # Nampa ID                                                      4.01
                                                     Card 6946
       8/12                       Purchase authorized on 08/11 SPC-Nampa 866-484-6743 ID                                                       50.24              9,687.83
                                                     Card 6946
       8/13                       Purchase authorized on 08/12 SPC-Nampa Nampa ID                                                            112.83               9,575.00
                                                     Card 6946
       8/14                       Withdrawal Made In A Branch/Store                                                                          800.00               8,775.00
       8/17                       Purchase authorized on 08/14 Porta Pros. LLC 800-528-8430 ID                                               200.00               8,575.00
                                                     Card 6946
       8/18                       Harland Clarke Check/Acc.                           Best View                                                35.89              8,539.11
                                  Construction
       8/19                       Withdrawal Made In A Branch/Store                                                                          255.00               8,284.11
       8/21                       Withdrawal Made In A Branch/Store                                                                        3,831.00               4,453.11
       8/28                       Purchase authorized on 08/27 Tates Rents - Meri 208-8887368 ID                                           1,500.00               2,953.11
                                                     Card 6946
       Ending balance on 8/31                                                                                                                                    2,953.11
       Totals                                                                                                           $0.00           $16,270.58

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.


       Fee period 08/01/2020 - 08/31/2020                                                   Standard monthly service fee $10.00                   You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. This is the final period with the fee waived.
       For the next fee period, you need to meet one of the requirements to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                    Minimum required                   This fee period
       Have any ONE of the following account requirements
         · Average ledger balance                                                                                         $500.00                      $8,845.00      ✔

       C1/C1
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Account transaction fees summary
                                                                                          Units          Excess        Service charge per          Total service
       Service charge description                                Units used           included            units           excess units ($)           charge ($)
       Cash Deposited ($)                                                 0              3,000                0                   0.0030                   0.00
       Transactions                                                       0                 50                0                      0.50                  0.00
       Total service charges                                                                                                                             $0.00




IMPORTANT ACCOUNT INFORMATION:

Your Wells Fargo Simple Business Checking account is changing.

Effective November 9, 2020, the name of your account will change to Initiate Business Checking (SM). Other changes to your account
are listed below.

Effective with the fee period beginning after October 8, 2020,                the $10 monthly service fee can be avoided with ONE of the
following options each fee period:

- Maintain a $500 minimum daily balance
- Maintain a $1,000 average ledger balance

If you do not meet one of the options above, the monthly service fee will be charged for fee periods ending on or after November 9,
2020.

In addition, effective with the fee period beginning after October 8, 2020,                 other features of your account will change:

- Your account will include more Transactions at no charge, increasing from 50 to 100 each fee period. The fee for Transactions over 100
each fee period remains at $0.50 each.
- The definition of Transactions is changing to include all checks deposited and all withdrawals or debits posted to your account,
including paper and electronic, except debit card purchases and debit card payments.
- Your account will include more Cash Deposits Processing at no charge, increasing from $3,000 to $5,000 each fee period. The fee for
Cash Deposits Processed over $5,000 remains at $0.30 per $100 deposited.

Fee Period: The fee period is the period used to calculate monthly fees. Your statement includes a monthly service fee summary with
                                                                                                                      ®
the dates of the fee period. The monthly service fee summary is also available through Wells Fargo Business Online or Wells Fargo
       ®
Mobile .

What remains the same:
- The Business Fee and Information Schedule and Deposit Account Agreement, as amended, continue to apply.

If you have questions about these changes, please contact your local banker or call the number listed on this statement.

Thank you for banking with Wells Fargo. We appreciate your business.




        IMPORTANT ACCOUNT INFORMATION




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Effective 05/22/2020, the Night Depository Agreement was amended to include: "Deposits placed into the night depository are
considered received by us when the bag is removed from the night depository and is available to us for processing. We will credit the
deposit to your account no later than the next business day."

No action is required on your part and there is no impact to the current night depository deposit process.
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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                           You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                              and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                      information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                       an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                  Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . $. .


                                                                                                                                                   Total amount $




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                                                                                                           Questions?
BEST VIEW CONSTRUCTION & DEVELOPMENT                                                                       Available by phone 24 hours a day, 7 days a week:
                                                                                                           Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH11 CASE # 20-00674 (ID)                                                                                    1-800-CALL-WELLS               (1-800-225-5935)

1625 MUSTANG MESA AVE                                                                                        TTY: 1-800-877-4833
MIDDLETON ID 83644-4745                                                                                      En español: 1-877-337-7454



                                                                                                           Online: wellsfargo.com/biz

                                                                                                           Write: Wells Fargo Bank, N.A. (113)
                                                                                                                   P.O. Box 6995
                                                                                                                   Portland, OR 97228-6995




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                                                                                                           services with your account(s). Go to wellsfargo.com/biz or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                           call the number above if you have questions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                           like to add new services.

                                                                                                           Business Online Banking                              ✓
                                                                                                           Online Statements                                    ✓
                                                                                                           Business Bill Pay
                                                                                                           Business Spending Report                             ✓
                                                                                                           Overdraft Protection




Statement period activity summary                                                                          Account number:             7494
         Beginning balance on 7/30                                                     $0.00               BEST VIEW CONSTRUCTION & DEVELOPMENT
                                                                                                           DEBTOR IN POSSESSION
         Deposits/Credits                                                              25.00
                                                                                                           CH11 CASE # 20-00674 (ID)
         Withdrawals/Debits                                                            - 0.00
                                                                                                           Idaho account terms and conditions apply
         Ending balance on 7/31                                                       $25.00
                                                                                                           For Direct Deposit use
                                                                                                           Routing Number (RTN):
         Average ledger balance this period                                           $25.00
                                                                                                           For Wire Transfers use
                                                                                                           Routing Number (RTN):


Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




      (113)
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      Sheet 00001 of 00002
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Transaction history

                         Check                                                                                     Deposits/        Withdrawals/          Ending daily
       Date             Number Description                                                                           Credits               Debits             balance
       7/30                    Edeposit IN Branch/Store 07/30/20 12:50:26 Pm 2122 W Karcher                           25.00                                     25.00
                               Rd Nampa ID 6946
       Ending balance on 7/31                                                                                                                                     25.00
       Totals                                                                                                       $25.00                 $0.00

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the Wells Fargo Account Fee and Information Schedule and Account Agreement applicable to
your account (EasyPay Card Terms and Conditions for prepaid cards) or talk to a banker. Go to wellsfargo.com/feefaq for a link to these documents, and answers
to common monthly service fee questions.


       Fee period 07/30/2020 - 07/31/2020                                                 Standard monthly service fee $10.00                   You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. Your fee waiver is about to expire. You will
       need to meet the requirement(s) to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                  Minimum required                   This fee period
       Have any ONE of the following account requirements
         · Average ledger balance                                                                                       $500.00                         $25.00
       C1/C1




Account transaction fees summary
                                                                                           Units          Excess         Service charge per               Total service
       Service charge description                                  Units used          included            units            excess units ($)                charge ($)
       Cash Deposited ($)                                                   0             3,000                0                    0.0030                        0.00
       Transactions                                                         1                50                0                       0.50                       0.00
       Total service charges                                                                                                                                      $0.00




        IMPORTANT ACCOUNT INFORMATION

Effective 05/22/2020, the Night Depository Agreement was amended to include: "Deposits placed into the night depository are
considered received by us when the bag is removed from the night depository and is available to us for processing. We will credit the
deposit to your account no later than the next business day."

No action is required on your part and there is no impact to the current night depository deposit process.
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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                           You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                              and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                      information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                       an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                  Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . $. .


                                                                                                                                                   Total amount $




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                                                                                                     Questions?
BEST VIEW CONSTRUCTION & DEVELOPMENT                                                                 Available by phone 24 hours a day, 7 days a week:
                                                                                                     Telecommunications Relay Services calls accepted
DEBTOR IN POSSESSION
CH11 CASE # 20-00674 (ID)                                                                             1-800-CALL-WELLS               (1-800-225-5935)

1625 MUSTANG MESA AVE                                                                                 TTY: 1-800-877-4833
MIDDLETON ID 83644-4745                                                                               En español: 1-877-337-7454



                                                                                                     Online: wellsfargo.com/biz

                                                                                                     Write: Wells Fargo Bank, N.A. (113)
                                                                                                             P.O. Box 6995
                                                                                                             Portland, OR 97228-6995




 Your Business and Wells Fargo                                                                       Account options
 Visit wellsfargoworks.com to explore videos, articles, infographics, interactive                    A check mark in the box indicates you have these convenient
                                                                                                     services with your account(s). Go to wellsfargo.com/biz or
 tools, and other resources on the topics of business growth, credit, cash flow
                                                                                                     call the number above if you have questions or if you would
 management, business planning, technology, marketing, and more.
                                                                                                     like to add new services.

                                                                                                     Business Online Banking                            ✓
                                                                                                     Online Statements                                  ✓
                                                                                                     Business Bill Pay
                                                                                                     Business Spending Report                           ✓
                                                                                                     Overdraft Protection




        IMPORTANT ACCOUNT INFORMATION

We're making important changes to the terms and conditions of several of our accounts. If these changes affect you, a detailed
message is included below your transaction detail for each impacted account.



Statement period activity summary                                                                    Account number:             7494
        Beginning balance on 8/1                                                    $25.00           BEST VIEW CONSTRUCTION & DEVELOPMENT
        Deposits/Credits                                                              0.00           DEBTOR IN POSSESSION
                                                                                                     CH11 CASE # 20-00674 (ID)
        Withdrawals/Debits                                                           - 0.00
                                                                                                     Idaho account terms and conditions apply
        Ending balance on 8/31                                                      $25.00
                                                                                                     For Direct Deposit use
                                                                                                     Routing Number (RTN):
        Average ledger balance this period                                          $25.00
                                                                                                     For Wire Transfers use
                                                                                                     Routing Number (RTN):




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Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.



Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for a
link to these documents, and answers to common monthly service fee questions.


       Fee period 08/01/2020 - 08/31/2020                                                   Standard monthly service fee $10.00                   You paid $0.00

       We waived the fee this fee period to allow you to meet the requirements to avoid the monthly service fee. This is the final period with the fee waived.
       For the next fee period, you need to meet one of the requirements to avoid the monthly service fee.

       How to avoid the monthly service fee                                                                    Minimum required                   This fee period
       Have any ONE of the following account requirements
         · Average ledger balance                                                                                         $500.00                         $25.00
       C1/C1




Account transaction fees summary
                                                                                             Units           Excess        Service charge per               Total service
       Service charge description                                   Units used           included             units           excess units ($)                charge ($)
       Cash Deposited ($)                                                    0              3,000                 0                   0.0030                        0.00
       Transactions                                                          0                 50                 0                      0.50                       0.00
       Total service charges                                                                                                                                          $0.00




IMPORTANT ACCOUNT INFORMATION:

Your Wells Fargo Simple Business Checking account is changing.

Effective November 9, 2020, the name of your account will change to Initiate Business Checking (SM). Other changes to your account
are listed below.

Effective with the fee period beginning after October 8, 2020,                   the $10 monthly service fee can be avoided with ONE of the
following options each fee period:

- Maintain a $500 minimum daily balance
- Maintain a $1,000 average ledger balance

If you do not meet one of the options above, the monthly service fee will be charged for fee periods ending on or after November 9,
2020.

In addition, effective with the fee period beginning after October 8, 2020,                    other features of your account will change:

- Your account will include more Transactions at no charge, increasing from 50 to 100 each fee period. The fee for Transactions over 100
each fee period remains at $0.50 each.
- The definition of Transactions is changing to include all checks deposited and all withdrawals or debits posted to your account,
including paper and electronic, except debit card purchases and debit card payments.
- Your account will include more Cash Deposits Processing at no charge, increasing from $3,000 to $5,000 each fee period. The fee for
Cash Deposits Processed over $5,000 remains at $0.30 per $100 deposited.
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Fee Period: The fee period is the period used to calculate monthly fees. Your statement includes a monthly service fee summary with
                                                                                                                    ®
the dates of the fee period. The monthly service fee summary is also available through Wells Fargo Business Online or Wells Fargo
       ®
Mobile .

What remains the same:
- The Business Fee and Information Schedule and Deposit Account Agreement, as amended, continue to apply.

If you have questions about these changes, please contact your local banker or call the number listed on this statement.

Thank you for banking with Wells Fargo. We appreciate your business.




        IMPORTANT ACCOUNT INFORMATION

Effective 05/22/2020, the Night Depository Agreement was amended to include: "Deposits placed into the night depository are
considered received by us when the bag is removed from the night depository and is available to us for processing. We will credit the
deposit to your account no later than the next business day."

No action is required on your part and there is no impact to the current night depository deposit process.




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General statement policies for Wells Fargo Bank

■  Notice: Wells Fargo Bank, N.A. may furnish information about accounts                           You must describe the specific information that is inaccurate or in dispute
belonging to individuals, including sole proprietorships, to consumer                              and the basis for any dispute with supporting documentation. In the case of
reporting agencies. If this applies to you, you have the right to dispute the                      information that relates to an identity theft, you will need to provide us with
accuracy of information that we have reported by writing to us at: Overdraft                       an identity theft report.
Collections and Recovery, P.O. Box 5058, Portland, OR 97208-5058.



Account Balance Calculation Worksheet                                                                  Number                    Items Outstanding                       Amount

1. Use the following worksheet to calculate your overall account balance.
2. Go through your register and mark each check, withdrawal, ATM
   transaction, payment, deposit or other credit listed on your statement.
   Be sure that your register shows any interest paid into your account and
   any service charges, automatic payments or ATM transactions withdrawn
   from your account during this statement period.
3. Use the chart to the right to list any deposits, transfers to your account,
   outstanding checks, ATM withdrawals, ATM payments or any other
   withdrawals (including any from previous months) which are listed in
   your register but not shown on your statement.

ENTER
A. The ending balance
   shown on your statement . . . . . . . . . . . . . . . . . . . . . .$.

ADD
B. Any deposits listed in your                                                $
   register or transfers into                                                 $
   your account which are not                                                 $
   shown on your statement.                                                 + $

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

CALCULATE THE SUBTOTAL
  (Add Parts A and B)

    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . TOTAL
                                                                             .. .$

SUBTRACT
C. The total outstanding checks and
   withdrawals from the chart above . . . . . . . . . . . . . - $

CALCULATE THE ENDING BALANCE
  (Part A + Part B - Part C)
  This amount should be the same
  as the current balance shown in
  your check register . . . . . . . . . . . . . . . . . . . . . . . . . $. .


                                                                                                                                                   Total amount $




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                      CHAPTER 11 MONTHLY OPERATING REPORT - SUPPLEMENTAL INFORMATION

Case No. 20-00674-JMM                                                                            Report Month/Year            July/Aug 2020
Debtor: Best View Construction & Development, LLC


Reconciliation of Unpaid Post-Petition Taxes
                                                   1                            2                            3                           4
                                                                       Post-petition taxes           Post-petition tax          Unpaid post-petition
                                    Unpaid post-petition taxes from accrued this month (new        payments made this         taxes at end of reporting
           Type of tax                  prior reporting month             obligations)               reporting month             month (col. 1+2-3)
Federal
Employee income tax withheld                                                                                                                          0
Employee FICA taxes withheld                                                                                                                          0
Employer FICA taxes                                                                                                                                   0
Unemployment taxes                                                                                                                                    0
Other:                                                                                                                                                0
State
Sales, use & excise taxes                                                                                                                             0
Unemployment taxes                                                                                                                                    0
Other:____________________                                                                                                                            0
Local
Personal property taxes                                                                                                                               0
Real property taxes                                                                                                                                   0
Other:                                                                                                                                                0
                                                                                        Total unpaid post-petition taxes                              0

Payments to Attorneys and Other Professionals (requires court approval)
                                                                                                                             Balance unpaid at end of
      Professional's name                   Type of services           Amount paid this month     Date of court approval      month, net of retainer
Angstman Johnson                   Legal                                                     0                             0                         0




Payments to Principals of Debtor and Other Insiders (includes officers, directors, shareholders, partners, members, relatives, etc.)
                                    Position with or relationship to                             Purpose of payment (e.g., wages or salary, expense
          Payee's name                          Debtor                 Amount paid this month     reimbursement, loan repayment, advance, draw,
NA                                                                                           0




Insurance Coverage Summary
                                                                                                                               Premium paid through
         Type of insurance                Insurance carrier             Amount of coverage         Policy expiration date             date
Workers' compensation              na                               na                           na
General liability                  Western Community Ins. Carr.                      20000000                      04/10/21                   04/10/21
Property (fire, theft, etc.)       na                               na                           na
Vehicle                            na                               na                           na
Other:
Other:
If any policies were renewed or replaaced during reporting period, attach new certificate of insurance.




                                                                                                                                               UST-2D
                                                                                                                                            Page 1 of 2
United States Trustee-District of Idaho                                                                                                  December 2017
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                     CHAPTER 11 MONTHLY OPERATING REPORT - SUPPLEMENTAL INFORMATION

Case No._____________________________                                                                   Report Month/Year
Debtor_______________________________



Accounts Receivable Aging Summary (attach detailed aging report)
                                 30 days or less          31 to 60 days          61 to 90 days             Over 90 days         Total at month end
Pre-peti ion receivables                            0                                                                                                0
Post-peti ion receivables                           0                                                                                                0
Total                                               0                     0                         0                       0                        0



Post-Petition Accounts Payable Aging Summary (attach detailed aging report)
                                 30 days or less          31 to 60 days          61 to 90 days             Over 90 days         Total at month end
Trade Payables                            $161,154.52                                                                                   $161,154 52
Other Payables                                                                                                                                 $-00
Total                                     $161,154.52                 $-00                    $-00                       $-00           $161,154 52



Personnel Changes                                                                                            Full-time              Part-time
Number of employees at beginning of month                                                                                   0                        0
Number of employees at end of month                                                                                         0                        0



Other Information
                                                                                                               Yes                      No
Payment of Pre-Petition Debts
Did Debtor pay any unsecured pre-petition debts during the reporting month? If yes,
attach a detailed explanation including the payee, amount paid, and date of court approval.
                                                                                                                                         x
Sale of Assets
Did Debtor, or another party on behalf of Debtor, sell, transfer, or otherwise dispose of
any assets outside of the ordinary course of Debtor's business during the reporting
month? If yes, attach a report of sale or settlement statement, or detailed explanation including                                        x
description of asset sold, purchase, sale price, net proceeds received, and date of court
approval .
Post-Petition Financing
Did Debtor borrow any money outside of the ordinary course of business during the
reporting month? If yes, attach a detailed explanation including the name of the lender, the                                             x
amount borrowed, and the date of court approval.



Narrative
Provide a brief description of any significant business and legal actions taken by the debtor, its creditors, or the court during the
reporting period; any unusual or non-recurring accounting transactions that are reported in the financial statements; any
significant changes in the financial condition of the debtor; and any progress made toward confirmation of a plan during the month.
The Debtor will but updating its schedules to amend the amount of cash as of the pe ition date.
Development funding was suspended following petition pending resolution of disputes over lien positions. Given recent developments
in the case and amongst the interested parties, Debtor believes development funding will likely resume to cover development expenses.




United States Trustee-District of Idaho                                                                                                                           UST-2B
                                                                                                                                                            December 2017
